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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

            -against-                                            ORDER

MICHAEL MCCANTS,                                             19 Cr. 235 (PGG)

                        Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the sentencing currently scheduled for November 24,

2020 will take place on February 22, 2021 at 3:00 p.m. Any submission on behalf of the

Defendant is due on February 1, 2021, and any submission by the Government is due on

February 8, 2021.

Dated: New York, New York
       November 6, 2020
